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                          UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF NEW YORK

 IN RE GREENSKY SECURITIES                           Case No. 18&LY11071 (AKH)
 LITIGATION




                             PRELIMINARY APPROVAL ORDER

       WHEREAS, Lead Plaintiffs Northeast Carpenters Annuity Fund (“Northeast Carpenters”),

El Paso Firemen & Policemen’s Pension Fund (“El Paso”), and the Employees’ Retirement System

of the City of Baton Rouge and Parish of East Baton Rouge (“CPERS”), on behalf of themselves

and each of the Class Members; and Defendants GreenSky, Inc. (“GreenSky” or the “Company”),

David Zalik, Robert Partlow, Joel Babbit, Gerald Benjamin, John Flynn, Gregg Freishtat, Nigel

Morris and Robert Sheft (the “Individual Defendants,” and collectively with GreenSky, the

“GreenSky Defendants”), as well as Goldman Sachs & Co. LLC, J.P. Morgan Securities LLC,

Morgan Stanley & Co. LLC, Citigroup Global Markets Inc., Credit Suisse Securities (USA) LLC,

Merrill Lynch, Pierce, Fenner & Smith Incorporated, SunTrust Robinson Humphrey, Inc. (now

known as Truist Securities, Inc.), Raymond James & Associates, Inc., Sandler O’Neill & Partners,

L.P., Fifth Third Securities, Inc., and Guggenheim Securities, LLC (the “Underwriter Defendants”),

by and through their respective counsel have entered into a settlement of the claims asserted against

Defendants in the above-captioned putative class action (the “Action”), the terms of which are set

forth in a Stipulation and Agreement of Settlement (the “Stipulation” and the “Settlement,”

respectively), dated as of May 24, 2021; and




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       WHEREAS, Lead Plaintiffs have moved, pursuant to Rule 23(e) of the Federal Rules of

Civil Procedure, for an Order, among other things, preliminarily approving the Stipulation and the

Settlement embodied therein and providing for notice to potential members of the Class; and

       WHEREAS, the Court has read and considered the Stipulation and the exhibits thereto,

including the proposed Notice of Proposed Settlement, the Summary Notice of Proposed Settlement,

the Proof of Claim Form, and the [Proposed] Order and Judgment, and found that substantial and

sufficient grounds exist for entering this Preliminary Approval Order;



       NOW, THEREFORE, IT IS HEREBY ORDERED:

       1.      The Court, for purposes of this Preliminary Approval Order, hereby adopts and

incorporates by reference the definitions in the Stipulation, and all capitalized terms used herein,

unless otherwise defined, shall have the same meanings as ascribed to them in the Stipulation. As in

the Stipulation, unless otherwise explicitly specified herein, all time periods set forth in the

Preliminary Approval Order will be computed in calendar days and pursuant to the terms of Rule 6(a)

of the Federal Rules of Civil Procedure.

       2.      The Court preliminarily approves the Settlement, including all provisions of the

Stipulation and exhibits attached thereto, as fair, reasonable and adequate to the Class, subject to

further consideration at the Final Approval Hearing.

       3.      The Court approves the form, substance and requirements of the Notice of Proposed

Settlement (the “Notice”) (annexed hereto as Exhibit A-1); the Summary Notice of Proposed

Settlement (“Summary Notice”) (annexed hereto as Exhibit A-2) (Exhibits A-1 and A-2 are

collectively referred to as the “Settlement Notices”); and the Proof of Claim Form (annexed hereto

as Exhibit A-3), and finds that the procedures established for publication, mailing and distribution

of the Settlement Notices and Proof of Claim Form substantially in the manner and form set forth in




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paragraphs 14–16 of this Preliminary Approval Order are in full compliance with the notice

requirements of Rule 23 of the Federal Rules of Civil Procedure; Section 27(a)(7) of the

Securities Act of 1933 (the “Securities Act”), as amended by the Private Securities Litigation

Reform Act of 1995 (the “PSLRA”), 15 U.S.C. § 77z-1(a)(7); the Constitution of the United States

(including the Due Process clause); and any other applicable law, and constitute the best notice

practicable under the circumstances and shall constitute due and sufficient notice to all persons

or entities entitled thereto.

        4.     The Court approves the appointment of Epiq Class Action & Claims Solutions, Inc.

as the Claims Administrator who, under the supervision of Co-Lead Counsel and subject to the

jurisdiction of the Court, shall supervise and administer the notice procedure, as well as the

processing of Claims, as more fully set forth below:



                a.       No later than twenty-one (21) days after entry of the Preliminary Approval

        Order (the “Notice Date”), the Claims Administrator shall cause a copy of the Notice and

        Proof of Claim Form, substantially in the form annexed hereto as Exhibits A-1 and A-3,

        respectively, to be mailed by first-class mail, postage pre-paid, to all members of the Class

        at the address of each such person as set forth in the records of GreenSky’s stock transfer

        agent, or who otherwise can be identified through reasonable effort;

                b.       The Summary Notice, substantially in the form annexed hereto as Exhibit A-

          2, shall be published once in Investor’s Business Daily and on PR Newswire no later than

          fourteen (14) days after the Notice Date; and

                c.       The Stipulation, the Notice, and the Proof of Claim Form shall also be placed

          on a website (the “Settlement Website”) dedicated to the administration of the Settlement

          on or before the Notice Date.




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       5.      The Claims Administrator shall use reasonable efforts to give notice to

nominee owners such as brokerage firms and other persons or entities who purchased

GreenSky Class A common stock pursuant and/or traceable to the Offering Documents as record

owners but not as beneficial owners. Nominees who purchased GreenSky common stock for

beneficial owners who are Class Members are directed to: (a) request within fourteen (14) days

of receipt of the Notice additional copies of the Notice and the Proof of Claim Form from the Claims

Administrator for such beneficial owners; or (b) send a list of the names and addresses of such

beneficial owners to the Claims Administrator within fourteen (14) days after receipt of the

Notice. If a nominee elects to send the Notice and Proof of Claim Form to beneficial owners, such

nominee is directed to mail the Notice and Proof of Claim Form within fourteen (14) days of receipt

of the additional copies of the Notice and Proof of Claim Form from the Claims Administrator, and

upon such mailing, the nominee shall send a statement to the Claims Administrator confirming that the

mailing was made as directed, and the nominee shall retain the list of names and addresses for use

in connection with any possible future notice to the Class. Upon full compliance with this

Preliminary Approval Order, including the timely mailing of the Notice and Proof of Claim Form to

beneficial owners, such nominees may seek reimbursement of their reasonable expenses actually

incurred in complying with this Preliminary Approval Order by providing the Claims

Administrator with proper documentation supporting the expenses for which reimbursement is

sought and reflecting compliance with these instructions, including timely mailing of the

Notice and Proof of Claim Form, if the nominee elected or elects to do so. Such properly

documented expenses incurred by nominees in compliance with the terms of this Preliminary

Approval Order shall be deemed Notice and Administration Costs and paid from the Settlement

Fund consistent with the terms of the Settlement.




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        6.    No later than thirty-five (35) days prior to the Final Approval Hearing, Co-Lead

Counsel shall cause to be filed with the Clerk of this Court affidavits or declarations of the person or

persons under whose general direction the mailing of the Notice and Proof of Claim Form, the

publication of the Summary Notice and the creation of the Settlement Website and posting of

relevant documents thereto shall have been made, showing that such mailing, publication,

website creation and postings have been made in accordance with this Preliminary Approval Order.

                               HEARING: RIGHT TO BE HEARD

        7.    The Court will hold a Final Approval Hearing pursuant to Rule 23(e) of the Federal

Rules of Civil Procedure, on 2FWREHU   DW  DP, in the U.S. District Court for the

Southern District of New York, Daniel Patrick Moynihan United States Courthouse, 500 Pearl St.,

Courtroom 14D, New York, New York 10007, for the following purposes: (i) to determine whether

the proposed Settlement of the Action on the terms and conditions provided for in the Stipulation is

fair, reasonable, adequate and in the best interests of the Class and should be approved by the

Court; (ii) to determine whether the Judgment, substantially in the form attached as Exhibit

B to the Stipulation, should be entered; (iii) to determine whether the Plan of Allocation is

reasonable and should be approved; (iv) to determine whether Co-Lead Counsel’s application

for an award of attorneys’ fees and reimbursement of Litigation Expenses incurred by Co-Lead

Counsel and Lead Plaintiffs should be granted; and (vi) to consider any other matters that may

properly be brought before the Court in connection with the Settlement.

        8.     Papers in support of the Settlement, the Plan of Allocation and Co-Lead Counsel’s

application for attorneys’ fees and reimbursement of Litigation Expenses shall be filed no later than

thirty-five (35) days prior to the Final Approval Hearing, and any papers in further support thereof

shall be filed no later than seven (7) days before the Final Approval Hearing. If an objection is

filed




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pursuant to paragraphs 17–18 below, any reply papers shall be filed no later than seven (7) days

before the Final Approval Hearing.

       9.     Any Class Member may appear at the Final Approval Hearing and show cause why

the proposed Settlement as embodied in the Stipulation should or should not be approved as fair,

reasonable, adequate and in the best interests of the Class, or why the Judgment should or should

not be entered thereon, and/or to present opposition to the Plan of Allocation or to the application of

Co-Lead Counsel for attorneys’ fees and reimbursement of Litigation Expenses. However, no

Class Member or any other person shall be heard or entitled to contest the approval of the terms

and conditions of the Settlement, or, if approved, the Judgment to be entered thereon approving the

same, or the terms of the Plan of Allocation or the application by Co-Lead Counsel for an

award of attorneys’ fees and reimbursement of Litigation Expenses, unless that Class Member (i)

has served written objections, by hand, first-class mail postage pre-paid or electronic mail, upon

the following counsel for receipt no later than twenty-one (21) days prior to the Final Approval

Hearing:

                                                      Cohen Milstein Sellers & Toll PLLC
 Co-Lead Counsel for the Class:                       1100 New York Avenue N.W., Suite 500
                                                      Washington, D.C. 20005
                                                      Attn: Steven J. Toll
                                                      stoll@cohenmilstein.com

                                                      Scott + Scott Attorneys at Law LLP
                                                      230 Park Avenue, 17th Floor
                                                      New York, NY 10169
                                                      Attn: Max R. Schwartz
                                                      mschwartz@scott-scott.com

 Counsel for the GreenSky Defendants:                 Cravath, Swaine & Moore LLP
                                                      825 Eighth Avenue
                                                      New York, NY 10019
                                                      Attn: Karin A. DeMasi
                                                      kdemasi@cravath.com




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 Counsel for Robert Sheft, Joel Babbit, Gregg           Cravath, Swaine & Moore LLP
 Freishtat, John Flynn and Nigel Morris:                825 Eighth Avenue
                                                        New York, NY 10019
                                                        Attn: Karin A. DeMasi
                                                        kdemasi@cravath.com

                                                        Susman Godfrey LLP
                                                        1301 Avenue of the Americas, 32nd Floor
                                                        New York, NY 10019
                                                        Attn: Shawn Rabin
                                                        srabin@susmangodfrey.com

 Counsel for the Underwriter Defendants:                Willkie Farr & Gallagher LLP
                                                        787 Seventh Avenue
                                                        New York, NY 10019
                                                        Attn: Todd G. Cosenza
                                                        tcosenza@willkie.com

and (ii) filed said written objections with the Clerk of the U.S. District Court for the Southern District

of New York no later than twenty-one (21) days prior to the Final Approval Hearing. Any such

written objection served and filed as set forth above must include: (a) the full name, address, and

phone number of the objecting Class Member; (b) a list and documentation of all of the Class

Member’s (i) purchases of GreenSky Class A common stock pursuant and/or traceable to the

Offering Documents and (ii) sales thereof, such as brokerage confirmation receipts or other

competent documentary evidence of such transactions, including the amount and date of each

purchase or sale and the price paid and/or received (including all income received thereon); (c) a

written statement of all grounds for the objection accompanied by any legal support for the objection;

(d) copies of any papers, briefs or other documents upon which the objection is based; (e) a list of

all persons, if any, who will be called to testify in support of the objection, the subject of their

expected testimony and the basis therefor; (f) a statement of whether the objector intends to appear

at the Final Approval Hearing; and (g) the objector’s signature, even if represented by counsel. If the

objector intends to appear at the Final Approval Hearing through counsel, the objection must also




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state the identity of all attorneys who will appear on his, her or its behalf at the Final

Approval Hearing. Unless the Court orders otherwise, no Class Member shall be entitled to object,

or otherwise be heard, except by serving and filing written objections as described above. Any

person or entity who does not object in the manner prescribed above shall be deemed to have

waived such objection and shall be bound by all the terms and provisions of the Settlement and by

all settlement-related proceedings, orders and judgments in the Action, including the

Judgment, if the Settlement is approved by the Court. By objecting to the Settlement, the

Judgment, the Plan of Allocation and/or the application by Co-Lead Counsel for an award of

attorneys’ fees and reimbursement of Litigation Expenses, or otherwise requesting to be heard at the

Final Approval Hearing, an objector shall be deemed to have submitted to the jurisdiction of the

Court with respect to the person’s or entity’s objection or request to be heard and the subject

matter of the Settlement, including, but not limited to, enforcement of the terms of the Settlement

(including, but not limited to, the release of the Released Claims as against the Released

Defendants and the release of the Released Defendants’ Claims as against the Released Plaintiffs

provided for in the Stipulation and the Judgment).

       10.    Any Class Member may hire their own attorney, at their own expense, to represent

them in making written objections or in appearing at the Final Approval Hearing. If any Class

Member chooses to hire an attorney at their own expense, that attorney must file a notice of

appearance with the Court and serve it on Co-Lead Counsel so that the notice is received twenty-one

(21) days prior to the Final Approval Hearing.

       11.     All Class Members shall be bound by all determinations and judgments in the Action

concerning the Settlement, whether favorable or unfavorable to the Class. If the Settlement is

approved, all Class Members will be bound by the Settlement, and by any judgment or determination




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of the Court affecting Class Members, including the Judgment and the releases contained therein,

regardless of whether or not a Class Member submits a Proof of Claim Form.

       12.    Any Class Member may enter an appearance in the Action, at his, her or its

own expense, individually or through counsel of his, her or its own choice. If they do not enter

an appearance, they will be represented by Co-Lead Counsel.

       13.    The Court expressly reserves the right to do the following without further notice to

members of the Class: (i) reschedule the Final Approval Hearing; (ii) approve the Settlement with

modification(s) approved by the Settling Parties; (iii) modify the Plan of Allocation; and (iv) award

such attorney’s fees and reimbursement of Litigation Expenses as the Court finds fair and reasonable.

Co-Lead Counsel shall cause any new date for the Final Approval Hearing to be posted on the

Settlement Website. The Court retains jurisdiction of this Action to consider all further

applications arising out of or otherwise relating to the Settlement; to allow, disallow or adjust

on equitable grounds the Claims of any Class Member and issue, as appropriate, a Class

Distribution Order; and as otherwise warranted.

                                       CLAIMS PROCESS

       14.     In order to be entitled to participate in the distribution(s) from the Net

Settlement Fund, a Class Member must complete and timely submit a Proof of Claim Form in

accordance with the instructions contained therein. To be valid and accepted, Proof of Claim

Forms submitted in connection with this Settlement must be postmarked no later than one

hundred twenty (120) days from the date of the entry of this Order.



       15.     The Claims Administrator, subject to the supervision of Co-Lead Counsel and the

Court, will make administrative determinations concerning the acceptance and rejection of the Proof

of Claim Forms submitted by claimants pursuant to the procedures set forth in the Stipulation. By




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submitting a Proof of Claim Form, a claimant shall be deemed to have submitted to the jurisdiction of

the Court with respect to the Claim submitted, and the Claim will be subject to investigation and

discovery under the Federal Rules of Civil Procedure, provided that such investigation and discovery

shall be limited to the claimant’s status as a Class Member and the validity and amount of their

Claim.

         16.   Any Class Member who does not timely submit a valid Proof of Claim Form shall

not be eligible to share in the Net Settlement Fund, but nonetheless will be bound by all of the terms

of the Settlement, including the releases provided for therein and in the Judgment, and shall be barred

and enjoined from bringing any action, claim, or other proceeding of any kind against any Released

Defendant concerning any Released Claim, and shall be bound by any judgment or determination of

the Court affecting the Class Members.

                      REQUEST FOR EXCLUSION FROM THE CLASS

         17.   A putative Class Member wishing to make a request for exclusion must submit such

a request in written form in the manner and to the address designated in the Notice, such that it is

received no later than twenty-one (21) days prior to the Final Approval Hearing. Class Members

wishing to be excluded from the Class must, in their written request, provide their (i) name, (ii)

address, (iii) telephone number, (iv) number of shares of GreenSky Class A common stock

purchased or sold, (v) prices or other consideration paid or received for such shares(s), (vi) the

date of each purchase or sale transaction, and (vii) a statement that the Class Member wishes

to be excluded from the Class. The request for exclusion must also be signed by the person or

entity requesting exclusion. All putative Class Members who submit valid and timely

requests for exclusion in the manner set forth in this paragraph shall have no rights under the

Settlement, shall




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not share in the distribution of the Net Settlement Fund, and shall not be bound by the Settlement or

Judgment.

       18.    Any Class Member who does not request exclusion from the Class in the manner

stated in this Preliminary Approval Order shall be deemed to have waived his, her or its right to be

excluded from the Class, and shall forever be barred from requesting exclusion from the Class in

this or any other proceeding, and shall be bound by the Settlement and the Judgment, including,

but not limited to, the release of the Released Claims as against the Released Defendants provided for

in the Stipulation and the Judgment, if the Court approves the Settlement.

                         ADDITIONAL SETTLEMENT CONDITIONS

       19.    Defendants shall have no responsibility or liability whatsoever with respect to Taxes,

Notice and Administration Costs, or Co-Lead Counsel’s application for an award of attorneys’ fees

and reimbursement of Litigation Expenses, which shall all be paid from the Settlement Fund, subject

to Court approval to the extent set forth herein or in the Stipulation. Furthermore, Defendants shall

have no responsibility or liability whatsoever with respect to the Plan of Allocation or Class

Distribution Order. The Plan of Allocation, Co-Lead Counsel’s application for an award of

attorneys’ fees and reimbursement of Litigation Expenses and any Class Distribution Order will

be considered separately from the fairness, reasonableness and adequacy of the Settlement

embodied in the Stipulation. At or after the Final Approval Hearing, the Court will determine

whether Co-Lead Counsel’s proposed Plan of Allocation should be approved, the amount of

attorneys’ fees and Litigation Expenses to be awarded to Co-Lead Counsel and/or Lead Plaintiffs,

and whether a Class Distribution Order should be entered. Any appeal from any orders relating

solely to the Plan of Allocation or solely to Co-Lead Counsel’s application for an award of

attorneys’ fees and Litigation Expenses or solely to a Class Distribution Order (or any of them),

or any reversal or modification




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thereof, shall not operate to terminate the Settlement, or preclude the Judgment, if entered by the

Court, from becoming Final or the Effective Date of the Settlement from occurring.

        20.    Only Class Members, the Claims Administrator and Co-Lead Counsel shall have any

right to any portion of, or any rights in the distribution of, the Settlement Fund, unless otherwise

ordered by the Court or otherwise provided in the Stipulation.

        21.    All funds held in the Escrow Account shall be deemed and considered to be

incustodia legis and shall remain subject to the jurisdiction of the Court until such time as such

funds shall be distributed pursuant to the Stipulation or returned to Defendants pursuant to the terms

of the Settlement and/or further order of the Court.

        22.    As set forth in the Stipulation, prior to the Effective Date, the Escrow Agent, without

further approval of Defendants or the Court, may pay from the Settlement Fund, subject to the

direction and supervision of Co-Lead Counsel, up to $150,000.00 in Notice and Administration

Costs actually and reasonably incurred. Prior to the Effective Date, payment by the Escrow

Agent of any Notice and Administration Costs exceeding $150,000.00 shall require notice to and

agreement from Defendants, through Defendants’ Counsel. Subsequent to the Effective Date,

without further approval by Defendants, Defendants’ Counsel, or the Court, the Escrow Agent,

subject to the direction and supervision of Co-Lead Counsel, may pay from the Settlement Fund all

reasonable and necessary Notice and Administration Costs in excess of any amount paid prior to the

Effective Date. In the event the Effective Date does not occur or the Settlement is otherwise

terminated pursuant to its terms, neither Lead Plaintiffs, nor Co-Lead Counsel, nor the

Escrow Agent shall have any obligation to repay any such Notice and Administration Costs

actually and properly incurred or paid.

        23.    The Claims Administrator and its agents are authorized and directed to cause to be

prepared any tax returns to be filed for the Settlement Fund and to cause any Taxes due and owing




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to be paid from the Settlement Fund without further order of the Court, but subject to the

supervision of Co-Lead Counsel, and to otherwise perform all obligations with respect to Taxes

and any reportings or filings in respect thereof as contemplated by the Settlement without further

order of the Court.

       24.    The fact and terms of this Preliminary Approval Order and the Stipulation, including

the exhibits annexed thereto and the Supplemental Agreement, all negotiations, discussions, drafts

and proceedings in connection with the Settlement, and any act performed or document signed in

connection with the Settlement:



               a.     shall not be offered or received against the Released Defendants, Lead

       Plaintiffs or the other Class Members as evidence of, or be deemed to be evidence of, any

       presumption, concession or admission by any of the Released Defendants or by Lead

       Plaintiffs or the other Class Members with respect to the truth of any fact alleged by Lead

       Plaintiffs or the validity, or lack thereof, of any claim that has been or could have been

       asserted in the Action or in any litigation, or the deficiency of any defense that has been or

       could have been asserted in the Action or in any litigation, or of any liability, negligence,

       fault or wrongdoing of the Released Defendants;

               b.     shall not be offered or received against the Released Defendants as evidence

       of a presumption, concession or admission of any fault, misrepresentation or omission with

       respect to any statement or written document approved or made by any Released Defendant,

       or against Lead Plaintiffs or any of the other Class Members as evidence of any infirmity in

       the claims of Lead Plaintiffs or the other Class Members;

               c.     shall not be offered or received against the Released Defendants, Lead

       Plaintiffs or the other Class Members as evidence of a presumption, concession or admission




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       with respect to any liability, negligence, fault or wrongdoing, or in any way referred to for

       any other reason as against any of the foregoing parties, in any arbitration proceeding or other

       civil, criminal or administrative action or proceeding, other than such proceedings as may be

       necessary to effectuate the provisions of this Settlement; provided, however, that if the

       Settlement is approved by the Court, the Released Defendants may refer to the Stipulation

       and the Settlement embodied therein to effectuate the protection from liability granted them

       thereunder;

               d.      shall not be construed against the Released Defendants, Defendants’ Counsel,

       Co-Lead Counsel or Lead Plaintiffs or the other Class Members as an admission or

       concession that the consideration to be paid hereunder represents the amount which could be

       or would have been recovered after trial; and

               e.      shall not be construed as or received in evidence as an admission, concession

       or presumption against Lead Plaintiffs or the other Class Members or any of them that any

       of their claims are without merit or that damages recoverable under the Complaint would not

       have exceeded the Settlement Amount.

       25.     There shall be no distribution of any of the Net Settlement Fund to any Class Member

prior to the Effective Date occurring nor until the Court approves, after appropriate notice to the

Class, a Plan of Allocation in an order that has become Final and the Court enters a Class Distribution

Order that has become Final.

       26.     All proceedings in this Action are stayed until further order of this Court, except as

may be necessary to implement the Settlement or comply with the terms of the Stipulation. Pending

final determination of whether the Stipulation, and the Settlement embodied therein, should be

approved, Lead Plaintiffs, all Class Members, and each of them, and anyone who acts or purports to




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act on their behalf, shall not institute or commence any action which asserts the Released Claims

against the Released Defendants.

       27.    In the event that the Effective Date fails to occur or the Settlement is otherwise

terminated pursuant to its terms, this Preliminary Approval Order shall be null and void, and

without prejudice, and none of its terms, except for paragraphs 24 and 27, shall be effective or

enforceable and the fact of the Settlement shall not be admissible in any trial of this Action, and

the Settling Parties shall be deemed to have reverted to their respective status in this Action

immediately prior to April 6, 2021, and except as otherwise expressly provided herein or in

the Stipulation, the Settling Parties shall proceed in all respects as if the Stipulation and any

related orders had not been entered, any portion of the Settlement Amount previously paid or

caused to be paid by Defendants into the Escrow Account, together with any interest earned or

gains thereon, less any amounts for Taxes paid or owing with respect to such interest income

and/or gains and/or for Notice and Administration Costs actually incurred and paid or payable,

shall be returned by the Escrow Agent to Defendants within fourteen (14) business days after

written notification of such event by Defendants to Co-Lead Counsel, all as specified in paragraph

12.3 of the Stipulation.

       28.    The Court preliminarily finds that the Escrow Account is a “Qualified Settlement

Fund” within the meaning of § 468B of the Internal Revenue Code of 1986, as amended, and

Treasury Regulation § 1.468B-1.

    IT IS SO ORDERED.


            -XQH
    DATED: ____________________
                                              V+RQ$OYLQ.+HOOHUVWHLQ
                                             _________________________________
                                             THE HONORABLE ALVIN K. HELLERSTEIN
                                             UNITED STATES DISTRICT JUDGE




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                                              EXHIBIT A-1
                              UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF NEW YORK

 IN RE GREENSKY SECURITIES LITIGATION                         Case No. 1:18-cv-11071-AKH

                                                              CLASS ACTION


                             NOTICE OF PROPOSED SETTLEMENT
IF YOU PURCHASED CLASS A COMMON STOCK OF GREENSKY, INC. PURSUANT
 AND/OR TRACEABLE TO THE REGISTRATION STATEMENT AND PROSPECTUS
  ISSUED IN CONNECTION WITH GREENSKY’S MAY 25, 2018 INITIAL PUBLIC
   OFFERING, YOU COULD RECEIVE A PAYMENT FROM A PROPOSED CLASS
                       ACTION SETTLEMENT.
This Notice explains important rights you may have, including your possible receipt of cash from a
proposed Settlement. Your legal rights will be affected whether or not you act. A Federal Court au-
                   thorized this Notice. This is not a solicitation from a lawyer.

                          PLEASE READ THIS NOTICE CAREFULLY!
               Securities: GreenSky, Inc. (“GreenSky” or the “Company”) Class A common stock pur-
chased pursuant and/or traceable to the Registration Statement and Prospectus (the “Offering Documents”)
issued in connection with GreenSky’s May 25, 2018 initial public offering (the “GreenSky IPO”). 1
                Description of the Action and the Class: The proposed Settlement resolves class action
litigation over allegations that GreenSky, certain of its officers and directors, and its underwriters violated
the Securities Act of 1933 (the “Securities Act”) by making material misstatements and omissions in the
Offering Documents for the GreenSky IPO. Northeast Carpenters Annuity Fund (“Northeast Carpenters”),
El Paso Firemen & Policemen’s Pension Fund (“El Paso”), and the Employees’ Retirement System of the
City of Baton Rouge and Parish of East Baton Rouge (“CPERS”) (collectively, “Lead Plaintiffs”) have
been designated by the Court as “Lead Plaintiffs” in the Action. Lead Plaintiffs’ counsel, Cohen Milstein
Sellers & Toll PLLC (“Cohen Milstein”) and Scott + Scott Attorneys at Law LLP (“Scott + Scott”), have
been appointed by the Court to serve as “Co-Lead Counsel.” The Court has certified the “Class” to consist
of:
       All persons and entities who purchased GreenSky Class A common stock pursuant and/or
       traceable to the Registration Statement and Prospectus (the “Offering Documents”) issued
       in connection with GreenSky’s May 25, 2018 initial public offering (the “GreenSky IPO”)
       and were damaged thereby. Excluded from the Class are Defendants; the officers and di-
       rectors of the Company; members of their immediate families; and their legal

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        This Notice incorporates by reference the definitions in the Stipulation and Agreement of Settle-
ment dated May 24, 2021 (“Stipulation”), and all capitalized terms used, but not defined, herein shall have
the same meanings as in the Stipulation. A copy of the Stipulation can be obtained at http://www.Green-
SkySecuritiesLitigation.com.

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       representatives, heirs, successors or assigns and any entity in which Defendants have or
       had a controlling interest; provided, however, that any “Investment Vehicle” shall not be
       excluded from the Class. Investment Vehicle means any investment company or pooled
       investment fund, including, but not limited to, mutual fund families, exchange traded funds,
       fund of funds, and hedge funds, in which any of the Underwriter Defendants have, has, or
       may have a direct or indirect interest, or as to which its affiliates may act as an investment
       advisor, but in which any of the Underwriter Defendants alone or together with its respec-
       tive affiliates is not a majority owner or does not hold a majority beneficial interest.
                Statement of Class’s Recovery: Subject to Court approval, and as described more fully in
¶¶ 24-38 below, Lead Plaintiffs, on behalf of themselves and the Class, have agreed to settle all Released
Claims against the Released Defendants in exchange for a settlement payment of $27,500,000.00 in cash
(the “Settlement Amount”) to be deposited into an interest-bearing escrow account (the “Settlement
Fund”) and certain other terms. The Settlement Fund less all Taxes, Notice and Administration Costs, and
attorneys’ fees and Litigation Expenses that may be awarded by the Court to Co-Lead Counsel and Lead
Plaintiffs (the “Net Settlement Fund”) will be distributed to members of the Class in accordance with a
plan of allocation (the “Plan of Allocation”) that is subject to approval by the Court. The proposed Plan
of Allocation is included in this Notice, and may be modified by the Court without further notice.
              Statement of Estimated Average Amount of Recovery: Your recovery will depend on
the number of shares of GreenSky common stock that you purchased, the price(s) at which those shares
were purchased, the timing of your purchases, and any sales. Depending on the number of eligible shares
of common stock that participate in the Settlement, and when and at what price that common stock was
purchased and sold, the estimated average recovery per share of GreenSky common stock will be approx-
imately $0.28 before deduction from the Settlement Fund of Court-approved fees and expenses and any
other awards or payments.
               Statement of the Parties’ Position on Damages: Defendants deny all claims of wrongdo-
ing and deny that they are liable to Lead Plaintiffs and/or the Class or that Lead Plaintiffs or other members
of the Class suffered any injury. Moreover, the Settling Parties do not agree on the amount of damages
that might be recoverable if liability could be proven. The issues on which the Settling Parties disagree
include, but are not limited to: (1) whether the statements made were material, false or misleading for all
the reasons alleged by Lead Plaintiffs; (2) whether Defendants are otherwise liable under the securities
laws for those statements; and (3) whether all or part of the damages allegedly suffered by Lead Plaintiffs
or members of the Class were caused by the alleged misstatements.
                Statement of Attorneys’ Fees and Litigation Expenses Sought: Co-Lead Counsel has
litigated this Action on a contingent basis. They have conducted this Action and advanced the Litigation
Expenses with the expectation that if they were successful in recovering money for the Class, they would
receive fees and be reimbursed for their expenses from the Settlement Fund. This is customary in this type
of litigation. Prior to final distribution of the Net Settlement Fund, Co-Lead Counsel will apply to the
Court for an award of attorneys’ fees from the Settlement Fund in an amount not to exceed 25% of the
Settlement Fund (or $6,875,000), plus interest earned at the same rate and for the same period as earned
by the Settlement Fund. In addition, Co-Lead Counsel also will apply for the reimbursement of Litigation
Expenses paid or incurred in connection with the prosecution and resolution of the Action in an amount
not to exceed $250,000 plus interest earned at the same rate and for the same period as earned by the
Settlement Fund. Litigation Expenses may include reimbursement of the expenses of Lead Plaintiffs in
accordance with 15 U.S.C. § 77z-1(a)(4). If the Court approves Co-Lead Counsel’s fee and expense ap-
plication, the estimated average cost per share of common stock is $0.07.

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               Identification of Attorneys’ Representatives: Lead Plaintiffs and the Class are being rep-
resented by Cohen Milstein and Scott + Scott. Any questions regarding the Settlement should be directed
to Steven J. Toll, Cohen Milstein Sellers & Toll PLLC, 1100 New York Avenue N.W., Suite 500, Wash-
ington, D.C. 20005, (202) 408-4600, stoll@cohenmilstein.com or Max Schwartz, Scott + Scott Attorneys
at Law LLP, 230 Park Avenue, 17th Floor, New York, NY 10169, (212) 223.6444, mschwartz@scott-
scott.com.

                   YOUR LEGAL RIGHTS AND OPTIONS IN THE SETTLEMENT

 Remain a member of the Class and This is the only way to receive a payment. If you wish to obtain
 file a Proof of Claim Form       a payment as a member of the Class, you will need to file a proof
                                  of claim form (the “Proof of Claim Form”), which is included
                                  with this Notice, postmarked no later than [_________], 2021.
 Exclude yourself from the Class                        If you exclude yourself from the Class, you will receive no pay-
 by submitting a written request                        ment pursuant to this Settlement. You may be able to seek recov-
 for exclusion so that it is received                   ery against the Defendants or other Released Defendants through
 no later than [____], 2021.                            other litigation at your own expense.
 Object to the Settlement by sub-                       Write to the Court and explain why you do not like the Settle-
 mitting a written objection so that                    ment, the requested Judgment to approve the Settlement; the pro-
 it is received no later than [____],                   posed Plan of Allocation, or the request for attorneys’ fees and
 2021.                                                  reimbursement of Litigation Expenses. You cannot object to the
                                                        Settlement unless you are a member of the Class and do not val-
                                                        idly exclude yourself.
 Go to the Final Approval Hearing                       You may attend the hearing to speak in Court about the fairness
 on [____], 2021 at [__:___.m.], and                    of the Settlement, the requested Judgment to approve the Settle-
 file a notice of intention to appear                   ment, the proposed Plan of Allocation, or Co-Lead Counsel’s re-
 so that it is received no later than                   quest for attorneys’ fees and reimbursement of Litigation Ex-
 [____], 2021.                                          penses. You cannot object to the Settlement unless you are a
                                                        member of the Class and do not validly exclude yourself.
 Do nothing.                                            Receive no payment, remain a Class Member, give up your rights
                                                        to seek recovery against the Defendants and the other Released
                                                        Defendants through other litigation and be bound by the Judg-
                                                        ment entered by the Court if it approves the Settlement, including
                                                        the release of the Released Claims.

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                                          WHY DID I GET THIS NOTICE?

               This Notice is being sent to you pursuant to an order of the United States District Court for
the Southern District of New York (the “Court”) because you or someone in your family may have pur-
chased GreenSky common stock as described above. The Court has directed us to send you this Notice
because, as a potential Class Member, you have a right to know about your options before the Court rules
on the proposed Settlement of this case. Additionally, you have the right to understand how a class action
lawsuit may generally affect your legal rights.
                A class action is a type of lawsuit in which the claims of a number of individuals are re-
solved together, thus providing the class members with both consistency and efficiency. In a class action
lawsuit, the Court selects one or more people, known as class representatives, to sue on behalf of all people
with similar claims, commonly known as the class or the class members. Once the class is certified, the
Court’s resolution of all issues, whether or not favorable, is binding on the class, except for any persons
who choose to exclude themselves from the class. (For more information on excluding yourself from the
Class, please read “What if I do not want to be a part of the Settlement? How do I exclude myself?” located
below.) In the Action, the Court has directed that Lead Plaintiffs and Co-Lead Counsel have primary re-
sponsibility for prosecuting all claims against Defendants on behalf of investors who purchased GreenSky
common stock.
                The Court in charge of this case is the United States District Court for the Southern District
of New York, and the case is known as In re GreenSky Securities Litigation, Case No. 1:18-cv-11071-
AKH (S.D.N.Y.) (the “Action”). The Judge presiding over this case is the Honorable Alvin K. Hellerstein,
United States Senior District Judge. The person who is suing is called the plaintiff, and those who are
being sued are called defendants. In this case, Lead Plaintiffs are Northeast Carpenters Annuity Fund, El
Paso Firemen & Policemen’s Pension Fund, and the Employees’ Retirement System of the City of Baton
Rouge and Parish of East Baton Rouge, and the Defendants consist of GreenSky; certain of GreenSky’s
officers and directors, David Zalik, Robert Partlow, Joel Babbit, Gerald Benjamin, John Flynn, Gregg
Freishtat, Nigel Morris and Robert Sheft (the individuals together with GreenSky, the “GreenSky Defend-
ants”); and GreenSky’s underwriters Goldman Sachs & Co. LLC, J.P. Morgan Securities LLC, Morgan
Stanley & Co. LLC, Citigroup Global Markets Inc., Credit Suisse Securities (USA) LLC, Merrill Lynch,
Pierce, Fenner & Smith Incorporated, SunTrust Robinson Humphrey, Inc. (now known as Truist Securi-
ties, Inc.), Raymond James & Associates, Inc., Sandler O’Neill & Partners, L.P., Fifth Third Securities,

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Inc., and Guggenheim Securities, LLC (the “Underwriter Defendants”). The proposed Settlement is with
all the foregoing Defendants, for the benefit of themselves and the Released Defendants.
                 This Notice explains the lawsuit, the Settlement, your legal rights, what benefits are avail-
able, who is eligible for them, and how to get them. The purpose of this Notice is to inform you of this
case, that it is a proposed class action, how you might be affected, how to object, if you wish, to the
proposed Settlement and/or the other matters to be considered by the Court at the Final Approval Hearing
(identified below), and how to exclude yourself from the proposed Settlement and the Class if you wish
to do so. It also is being sent to inform you of the terms of the proposed Settlement, and of a hearing to be
held by the Court to consider the fairness, reasonableness and adequacy of the proposed Settlement and
the other matters identified below (the “Final Approval Hearing”).
              The Final Approval Hearing will be held on [__________], 2021 at [__:__ _.m.], before
the Honorable Alvin K. Hellerstein at the United States District Court for the Southern District of New
York, Daniel Patrick Moynihan United States Courthouse, 500 Pearl St., Courtroom 14D, New York, New
York 10007, to determine:
           a. whether the proposed settlement of the Action on the terms and conditions provided for in
              the Stipulation is fair, reasonable, adequate and in the best interests of the Class and should
              be approved by the Court;
           b. whether a judgment should be entered, as proposed in the Settlement, which, among other
              things, would dismiss the Action against Defendants with prejudice and release, on behalf
              of the Class, the Released Claims against the Released Defendants and the Released De-
              fendants’ Claims against the Released Plaintiffs (the “Judgment”);
           c. whether the proposed Plan of Allocation is reasonable and should be approved by the
              Court; and
           d. whether Co-Lead Counsel’s request for an award of attorneys’ fees and reimbursement of
              Litigation Expenses should be approved by the Court.
               This Notice does not express any opinion by the Court concerning the merits of any claim
in the Action, and the Court still has to decide whether to approve the Settlement. Any distribution will
not be paid until after the completion of all claims processing. Please be patient.

                                  WHAT IS THIS CASE ABOUT?

               The initial complaint in this Action was filed on November 27, 2018. On March 29, 2019,
the Court appointed Northeast Carpenters, El Paso, and CPERS as Lead Plaintiffs and Cohen Milstein and
Scott + Scott as Co-Lead Counsel.
               Lead Plaintiffs filed their Consolidated Second Amended Complaint for Violations of the
Federal Securities Laws (the “Complaint”) on June 26, 2019. The Complaint alleges that Defendants vio-
lated the Securities Act of 1933 by making material misstatements and omissions in the Offering Docu-
ments for the GreenSky IPO. Defendants deny each and all of Lead Plaintiffs’ allegations. Defendants
contend that they did not make material misstatements or omissions and that they disclosed all information
required to be disclosed by the federal securities laws. Among other things, Lead Plaintiffs allege that in
the Offering Documents, Defendants did not disclose the financial impact of the Company’s decision to
shift away from one of its most profitable business segments. Lead Plaintiffs further allege that when the



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true facts regarding the alleged misstatements and omissions were revealed, artificial inflation was re-
moved from the price of Greensky common stock issued in the IPO.
                The Settling Parties have vigorously litigated this case for more than two years. The Set-
tling Parties briefed and argued Defendants’ motions to dismiss the Complaint. After the Court denied the
motions to dismiss, extensive class-related discovery ensued, and the Court ultimately certified the Class
on June 1, 2020. The parties then engaged in extensive fact discovery which included the production of
over 4.4 million pages of documents by Defendants and six depositions, including of Lead Plaintiffs and
certain of Defendants’ employees. Separately, Lead Plaintiffs served document and deposition subpoenas
on non-parties, including PricewaterhouseCoopers (“PwC”), GreenSky’s independent auditor, and FT
Partners, an investment banking firm that provided GreenSky with consulting services in connection with
the GreenSky IPO, resulting in the production of nearly one million additional pages of documents. De-
fendants further served document and deposition subpoenas on additional non-parties, including each of
Lead Plaintiffs’ investment managers and investment consultants.
              During the course of the Action, the Settling Parties engaged a neutral third-party mediator,
Robert A. Meyer, Esq., and held settlement discussions. Co-Lead Counsel met with the mediator and De-
fendants’ counsel via videoconference and teleconference on multiple occasions over the course of six
months. On April 6, 2021, the Settling Parties agreed in principle to settle the Action in return for a cash
payment of $27,500,000.00 for the benefit of the Class, subject to approval by the Court.

         WHAT ARE LEAD PLAINTIFFS’ REASONS FOR THE SETTLEMENT?

               Lead Plaintiffs and Co-Lead Counsel believe that the claims asserted against the Defend-
ants have merit. Lead Plaintiffs and Co-Lead Counsel recognize, however, that there are significant risks
with respect to proving liability and damages in addition to the expense and length of continued proceed-
ings necessary to pursue their claims against the Defendants through continued discovery, trial and ap-
peals. Lead Plaintiffs and Co-Lead Counsel have, accordingly, considered the uncertain outcome of trial
and any appeals following a trial in complex lawsuits like this one.
                In light of the risks of continued litigation, Lead Plaintiffs and Co-Lead Counsel believe
that the proposed Settlement is fair, reasonable and adequate, and in the best interests of the Class. Lead
Plaintiffs and Co-Lead Counsel also believe that the Settlement provides a substantial benefit now, namely
Defendants’ payment (as described below) of $27,500,000.00 in cash (less the various deductions de-
scribed in this Notice), as compared to the risk that the claims would produce a similar, smaller, or no
recovery after summary judgment, trial and appeals, possibly years in the future.
                 Defendants have denied and continue to deny each and all of the claims alleged by Lead
Plaintiffs in the Action and affirm that they have acted properly and lawfully at all times. Defendants have
expressly denied and continue to deny all charges of wrongdoing or liability against them arising out of
any and all of the conduct, statements, acts or omissions alleged, or that could have been alleged, in the
Action. Defendants have, however, taken into account the uncertainty and risks inherent in any litigation,
especially in a complex case such as this. Defendants have concluded that further conduct of the Action
would be protracted and expensive, and that it is desirable that the Action be fully and finally settled in
the manner and upon the terms and conditions set forth in the Stipulation.




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              WHAT MIGHT HAPPEN IF THERE WERE NO SETTLEMENT?

                If there was no Settlement and Lead Plaintiffs failed to establish any essential legal or
factual element of their claims against Defendants, neither Lead Plaintiffs nor members of the Class would
recover anything from Defendants. Also, if Defendants were successful in proving any of their defenses,
the Class likely would recover substantially less than the amount provided in the Settlement, or nothing
at all. On the other hand, it is possible that if Lead Plaintiffs pursued their claims, the Class could obtain
more than the Settlement Amount.

             HOW DO I KNOW IF I AM AFFECTED BY THE SETTLEMENT?

               If you are a member of the Class, you are subject to the Settlement unless you timely re-
quest to be excluded. The Class consists of:
       All persons and entities who purchased GreenSky Class A common stock pursuant and/or
       traceable to the Registration Statement and Prospectus (the “Offering Documents”) issued
       in connection with GreenSky’s May 25, 2018 initial public offering (the “GreenSky IPO”)
       and were damaged thereby. Excluded from the Class are Defendants; the officers and di-
       rectors of the Company; members of their immediate families; and their legal representa-
       tives, heirs, successors or assigns and any entity in which Defendants have or had a con-
       trolling interest; provided, however, that any “Investment Vehicle” shall not be excluded
       from the Class. Investment Vehicle means any investment company or pooled investment
       fund, including, but not limited to, mutual fund families, exchange traded funds, fund of
       funds, and hedge funds, in which any of the Underwriter Defendants have, has, or may
       have a direct or indirect interest, or as to which its affiliates may act as an investment
       advisor, but in which any of the Underwriter Defendants alone or together with its respec-
       tive affiliates is not a majority owner or does not hold a majority beneficial interest.
                 Receipt of this Notice does not necessarily mean that you are a Class Member or that you
are eligible to receive proceeds from the Settlement. If you wish to participate in the Settlement, you must
submit the enclosed Proof of Claim Form postmarked no later than [_______________], 2021.

       HOW MUCH WILL MY PAYMENT BE AND WHEN WILL I RECEIVE IT?

                               PROPOSED PLAN OF ALLOCATION
                The objective of the Plan of Allocation is to equitably distribute the Net Settlement Fund
among Authorized Claimants who allegedly suffered economic losses as a proximate result of the alleged
violations of the federal securities laws. The Plan of Allocation, however, is not a formal damages analy-
sis, and the calculations made pursuant to the Plan of Allocation are not intended to be estimates of, nor
indicative of, the amounts that Class Members might have been able to recover after a trial. Nor are the
calculations pursuant to the Plan of Allocation intended to be estimates of the amounts that will be paid to
Authorized Claimants. The computations under the Plan of Allocation are only a method to weigh the
claims of Authorized Claimants against one another for the purposes of making pro rata allocations of the
Net Settlement Fund.
               Claims asserted in the Action under Section 11 of the Securities Act serve as the basis for
the calculation of the Recognized Losses under the Plan of Allocation. Section 11 of the Securities Act
provides a statutory formula for the calculation of damages under that provision. The formulas stated

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below, which were developed by Lead Plaintiffs’ damages consultant, generally track the statutory for-
mula.
                          CALCULATION OF RECOGNIZED LOSSES
                A “Recognized Loss” will be calculated as set forth for each purchase of GreenSky Class
A common stock from May 24, 2018 through November 12, 2018 (the “Relevant Period”) that is listed in
the Proof of Claim Form and for which adequate documentation is provided. To the extent that the calcu-
lation of a claimant’s Recognized Loss results in a negative number, that number shall be set to zero.
              For each share of GreenSky Class A common stock purchased from May 24, 2018 through
and including November 12, 2018 and:
           a. sold before the opening of trading on November 12, 2018, the Recognized Loss for each
              such share shall be the purchase price (not to exceed the issue price at the offering of
              $23.00) minus the sale price.
           b. sold after the opening of trading on November 12, 2018, through the close of trading on
              August 5, 2019 the Recognized Loss for each such share shall be the purchase price (not
              to exceed the issue price at the offering of $23.00) minus the sale price (not to be less than
              $9.92, the closing share price on November 12, 2018).
           c. Retained through the close of trading on August 5, 2019, the Recognized Loss for each
              such share shall be the purchase price (not to exceed the issue price at the offering of
              $23.00) minus $9.92, the closing share price on November 12, 2018.
                                    ADDITIONAL PROVISIONS
               Subject to the following paragraphs, an Authorized Claimant’s Recognized Claim shall be
the sum of an Authorized Claimant’s Recognized Losses.
                Purchases and sales of GreenSky Class A common stock shall be deemed to have occurred
on the “contract” or “trade” date as opposed to the “settlement” or “payment” date. The receipt or grant
by gift, inheritance or operation of law of GreenSky Class A common stock during the Relevant Period
shall not be deemed a purchase of GreenSky Class A common stock for purposes of the calculation of an
Authorized Claimant’s Recognized Claim, nor shall the receipt or grant be deemed an assignment of any
claim relating to the purchase of such GreenSky Class A common stock unless (i) the donor or decedent
purchased such GreenSky Class A common stock during the Relevant Period; (ii) no Proof of Claim Form
was submitted by or on behalf of the donor, on behalf of the decedent, or by anyone else with respect to
such GreenSky Class A common stock; and (iii) it is specifically so provided in the instrument of gift or
assignment.
               In the event that a Class Member has multiple transactions in GreenSky Class A common
stock during the Relevant Period, all purchases and sales shall be matched on a first-in, first-out (“FIFO”)
basis. Relevant Period sales will be matched first against any holdings at the beginning of the Relevant
Period, and then against purchases in chronological order, beginning with the earliest purchase made dur-
ing the Relevant Period.
                The Recognized Loss on any portion of a purchase that matches against (or “covers”) a
“short sale” is zero. The Recognized Loss on a “short sale” that is not covered by a purchase is also zero.
In the event that a claimant has an opening short position in GreenSky Class A common stock at the start
of the Relevant Period, the earliest purchases shall be matched against such an opening short position in
accordance with the FIFO matching described above, and any portion of such purchases that cover such

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short sales will not be entitled to recovery. In the event that a claimant newly establishes a short position
during the Relevant Period, the earliest subsequent Relevant Period purchase shall be matched against
such short position on a FIFO basis and will not be entitled to a recovery.
                GreenSky Class A common stock is the only security eligible for recovery under the Plan
of Allocation. Option contracts to purchase or sell GreenSky Class A common stock are not securities
eligible to participate in the Settlement. With respect to GreenSky Class A common stock purchased or
sold through the exercise of an option, the purchase/sale date of such shares is the exercise date of the
option and the purchase/sale price is the exercise price of the option.
              Recognized Losses will be used solely to calculate the relative amount of the Net Settle-
ment Fund to be apportioned to each Authorized Claimant and do not reflect the actual amount an Author-
ized Claimant may expect to recover from the Net Settlement Fund.
               If the sum total of Recognized Losses of all Authorized Claimants who are entitled to re-
ceive payment out of the Net Settlement Fund is greater than the Net Settlement Fund, each Authorized
Claimant shall receive his, her, or its pro rata share of the Net Settlement Fund. The pro rata share shall
be the Authorized Claimant’s Recognized Loss divided by the total Recognized Losses of all Authorized
Claimants, multiplied by the total amount in the Net Settlement Fund.
                If the Net Settlement Fund exceeds the sum total amount of the Recognized Losses of all
Authorized Claimants entitled to receive payment out of the Net Settlement Fund, the excess amount in
the Net Settlement Fund shall be distributed pro rata to all Authorized Claimants entitled to receive pay-
ment (i.e., each Authorized Claimant will also receive the Authorized Claimant’s Recognized Loss divided
by the total Recognized Losses of all Authorized Claimants, multiplied by the excess amount in the Net
Settlement Fund).
               The Net Settlement Fund will be allocated among all Authorized Claimants whose prorated
payment is $10.00 or greater. If the prorated payment to any Authorized Claimant calculates to less than
$10.00, it will not be included in the calculation and no distribution will be made to that Authorized
Claimant.
                 Payment pursuant to the Plan of Allocation shall be conclusive against all Authorized
Claimants. No person shall have any claim based on distributions made substantially in accordance with
the Settlement, the Plan of Allocation, or further order(s) of the Court, against Co-Lead Counsel, Lead
Plaintiffs, their damages consultant, Claims Administrator, or other agent designated by Co-Lead Counsel,
Class Members, Defendants, Defendants’ Counsel, or the Released Defendants. All Class Members who
fail to timely submit an acceptable Proof of Claim Form by the deadline set by the Court, or such other
deadline as may be ordered by the Court, or otherwise allowed, shall be forever barred from receiving any
payments pursuant to the Settlement, but will in all other respects be subject to and bound by the terms of
the Settlement, including the release of the Released Claims against the Released Defendants provided for
therein and in the Judgment.
               The Plan of Allocation is a matter separate and apart from the proposed Settlement, and
any decision by the Court concerning the Plan of Allocation shall not affect the validity or finality of the
proposed Settlement. The Court may approve the Plan of Allocation with or without modifications agreed
to among the Settling Parties, or another plan of allocation, without further notice to Class Members. Any
orders regarding a modification of the Plan of Allocation will be posted to the Claims Administrator’s
website, www.GreenSkySecuritiesLitigation com.



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      WHAT RIGHTS AM I GIVING UP BY AGREEING TO THE SETTLEMENT?

                If the Settlement is approved, the Court will enter the Judgment. The Judgment will dismiss
with prejudice the claims against Defendants in the Action and will provide that, upon the Effective Date
of the Settlement, Lead Plaintiffs and each Class Member, on behalf of themselves, their heirs, executors,
administrators, predecessors, successors and assigns, and any other person claiming by, through or on
behalf of them, shall be deemed by operation of law to (a) have released, waived, discharged and dismissed
each and every of the Released Claims against the Released Defendants; (b) forever be enjoined from
commencing, instituting or prosecuting any or all of the Released Claims against any of the Released
Defendants; and (c) forever be enjoined from instituting, continuing, maintaining or asserting, either di-
rectly or indirectly, whether in the United States or elsewhere, on their own behalf or on behalf of any
class or any other person, any action, suit, cause of action, claim or demand against any person or entity
who may claim any form of contribution or indemnity from any of the Released Defendants in respect of
any Released Claim or any matter related thereto.
                The Judgment will also provide that, upon the Effective Date of the Settlement, each of the
Defendants, on behalf of themselves, their heirs, executors, administrators, predecessors, successors and
assigns, and any other person claiming by, through or on behalf of them, shall be deemed by operation of
law to (a) have released, waived, discharged and dismissed each and every of the Released Defendants’
Claims against the Released Plaintiffs; (b) forever be enjoined from commencing, instituting or prosecut-
ing any or all of the Released Defendants’ Claims against any of the Released Plaintiffs; and (c) forever
be enjoined from instituting, continuing, maintaining or asserting, either directly or indirectly, whether in
the United States or elsewhere, on their own behalf or on behalf of any class or any other person, any
action, suit, cause of action, claim or demand against any person or entity who may claim any form of
contribution or indemnity in respect of any Released Defendants’ Claim or any matter related thereto.
                “Released Claims” means all claims, demands, losses, rights, and causes of action of every
nature and description, whether known or unknown, that (a) were or could have been asserted in the Com-
plaint, (b) could have been asserted in this Action, or (c) could in the future be asserted in any forum
whether arising under federal, state, common or foreign law, by Lead Plaintiffs or any other member of
the Class, or their successors, assigns, executors, administrators, representatives, attorneys, and agents in
their capacities as such, which (i) arise out of, are based upon, or relate in any way to any of the allegations,
acts, transactions, facts, events, matters or occurrences, representations or omissions involved, set forth,
alleged, or referred to in the Complaint or which could have been alleged in this Action, and (ii) arise out
of, are based upon, or relate in any way to the purchase, acquisition, holding, sale, or disposition of any
GreenSky securities.
                “Released Defendants” means Defendants and any and all of their respective immediate
family members, parent entities, associates, affiliates or subsidiaries, and each and all of their respective
past, present or future officers, directors, stockholders, agents, representatives, employees, attorneys, fi-
nancial or investment advisors, advisors, consultants, trustees, accountants, auditors, insurers, co-insurers
and reinsurers, heirs, executors, general or limited partnerships, personal or legal representatives, estates,
trusts, administrators, predecessors, successors and assigns.
               “Released Defendants’ Claims” means any claims relating to the institution, prosecution,
or settlement of this Action.
             “Released Plaintiffs” means Lead Plaintiffs and the Class and any and all of their respective
immediate family members, parent entities, associates, affiliates or subsidiaries, and each and all of their


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respective past, present or future officers, directors, stockholders, agents, representatives, employees, at-
torneys, financial or investment advisors, advisors, consultants, trustees, accountants, auditors, insurers,
co-insurers and reinsurers, heirs, executors, general or limited partnerships, personal or legal representa-
tives, estates, trusts, administrators, predecessors, successors and assigns.
                “Unknown Claims” means any and all Released Claims that Lead Plaintiffs or any Class
Member does not know or suspect to exist in his, her or its favor at the time of the release of the Released
Defendants, and any of the Released Defendants’ Claims which Defendants do not know or suspect to
exist in his, her or its favor at the time of the release of the Released Plaintiffs, which if known by him,
her or it might have affected his, her or its decision(s) with respect to the Settlement. With respect to any
and all Released Claims and Released Defendants’ Claims, Lead Plaintiffs and Defendants stipulate and
agree that upon the Effective Date, Lead Plaintiffs and Defendants shall each, for themselves and all per-
sons claiming by, through, or on behalf of them, expressly waive, and each Class Member shall be deemed
to have waived, and by operation of the Judgment shall have expressly waived, any and all provisions,
rights and benefits conferred by any law of any state or territory of the United States, or principle of
common law, that is similar, comparable, or equivalent to Cal. Civ. Code § 1542, which provides:
       A general release does not extend to claims which the creditor does not know or suspect to
       exist in his or her favor at the time of executing the release, which if known by him or her
       must have materially affected his or her settlement with the debtor.
Lead Plaintiffs and Defendants acknowledge, and Class Members and Defendants’ successors and assigns
and any persons or entities claiming through or on behalf of Defendants shall, by operation of law, be
deemed to have acknowledged, that the inclusion of “Unknown Claims” in the definition of Released
Claims and Released Defendants’ Claims was separately bargained for and was a material element of this
Settlement.

        WHAT PAYMENT ARE THE ATTORNEYS FOR THE CLASS SEEKING?

                 Co-Lead Counsel has not received any payment for its services in pursuing claims against
Defendants on behalf of the Class, nor has Co-Lead Counsel been reimbursed for its out-of-pocket ex-
penses. Before final approval of the Settlement, Co-Lead Counsel intends to apply to the Court for an
award of attorneys’ fees from the Settlement Fund in an amount not to exceed 25% of the Settlement Fund
(or $6,875,000), plus interest at the same rate and for the same time period as earned by the Settlement
Fund. At the same time, Co-Lead Counsel also intends to apply for the reimbursement of certain Litigation
Expenses in an amount not to exceed $250,000, plus interest at the same rate and for the same time period
as earned by the Settlement Fund. Litigation Expenses may include reimbursements for, among other
things, litigation-related expenses of Lead Plaintiffs in accordance with 15 U.S.C. § 77z-1(a)(4). The sums
that may be approved by the Court will be paid from the Settlement Fund. The Court’s approval of Co-
Lead Counsel’s application for an award of attorneys’ fees and Litigation expenses, in whole or part, and
any determination by any appellate court with respect thereto, is a matter separate and apart from the
Court’s consideration of the fairness, reasonableness and adequacy of the Settlement and will not affect
the Settlement, if approved. Class Members are not personally liable for the payment of any sums awarded
by the Court or any appellate court with respect to Co-Lead Counsel’s application for attorneys’ fees and
Litigation Expenses.




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                      HOW DO I PARTICIPATE IN THE SETTLEMENT?

               If you purchased GreenSky common stock as described above, and you are not excluded
from the definition of the Class and you do not timely and properly request to exclude yourself from the
Class in the manner provided in this Notice, then you are a member of the Class and you will be bound
by the proposed Settlement if the Court approves it, and by any judgment or determination of the Court
affecting the Class, including the Judgment and the releases therein. If you are a member of the Class, you
must submit a Proof of Claim Form and supporting documentation to establish your entitlement to share
in the Settlement. A Proof of Claim Form is included with this Notice, or you may go to the website
maintained by the Claims Administrator for the Settlement to request that a Proof of Claim Form be mailed
to you. The website is www.GreenSkySecuritiesLitigation.com. You may also request a Proof of Claim
Form by calling toll-free (855) 917-3539 or emailing info@GreenSkySecuritiesLitigation.com. Copies of
the Proof of Claim Form can also be downloaded from Co-Lead Counsel’s website at www.cohenmil-
stein.com. Those who timely and properly exclude themselves from the Class, and those who do not sub-
mit timely and valid Proof of Claim Forms with adequate supporting documentation, will not be eligible
to share in the Settlement. Please retain all records of your ownership of, or transactions in, GreenSky
common stock, as they may be needed to document your claim. Do not submit original documentation
with your Proof of Claim Form – submit copies only – because materials submitted will not be returned.
                As a Class Member, you are represented by Lead Plaintiffs and Co-Lead Counsel unless
you enter an appearance through counsel of your own choice at your own expense. You are not required
to retain your own counsel, but if you choose to do so, such counsel must file a notice of appearance on
your behalf and must serve copies of his or her notice of appearance on the attorneys listed in the section
below entitled, “When and where will the Court decide whether to approve the Settlement?”
               If you do not wish to remain a Class Member, you may exclude yourself from the Class by
following the instructions in the section below entitled, “What if I do not want to be a part of the Settle-
ment? How do I exclude myself?”
               If you wish to object to the Settlement or any of its terms, the proposed Judgment, the
proposed Plan of Allocation, or Co-Lead Counsel’s application for attorneys’ fees and reimbursement of
Litigation Expenses, and if you do not exclude yourself from the Class, you may present your objections
by following the instructions in the section below entitled, “When and where will the Court decide whether
to approve the Settlement?”

            WHAT IF I DO NOT WANT TO BE PART OF THE SETTLEMENT?

                Each Class Member will be bound by all determinations and judgments, whether favorable
or unfavorable, concerning the Settlement, if approved by the Court, unless such person or entity mails,
by first class mail (or its equivalent outside the U.S.), or otherwise delivers a written request for exclusion
from the Class, addressed to In re GreenSky Securities Litigation, P.O. Box 3560, Portland, OR 97208-
3560. The written request for exclusion must be received by no later than [______], 2021. Each person’s
or entity’s written request for exclusion must clearly provide their (i) name, (ii) address, (iii) telephone
number, (iv) number of shares of GreenSky common stock purchased or sold, (v) prices or other consid-
eration paid or received for such shares(s), (vi) the date of each purchase or sale transaction, and (vii) a
statement that the Class Member wishes to be excluded from the Class in In re GreenSky Securities Liti-
gation, Case No. 1:18-cv-11071-AKH (S.D.N.Y.). Each written request for exclusion must be signed by
the person or entity requesting to be excluded. Requests for exclusion will not be valid if they do not


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include the information set forth above and are not received by the date stated above, unless the Court
otherwise determines. Please keep a copy of everything you send by mail, in case it is lost during shipping.
              If a person or entity requests to be excluded from the Class, that person or entity will not
receive any benefit provided for in the Settlement.

  WHEN AND WHERE WILL THE COURT DECIDE WHETHER TO APPROVE THE
                          SETTLEMENT?

                If you do not wish to object in person to the proposed Settlement, Judgment, Plan of Allo-
cation and/or Co-Lead Counsel’s application for an award of attorneys’ fees and Litigation Expenses, you
do not need to attend the Final Approval Hearing. You can object to or participate in the Settlement without
attending the Final Approval Hearing.
               The Final Approval Hearing will be held on [__________], 2021 at [__:__ _.m.], before
the Honorable Alvin K. Hellerstein at the United States District Court for the Southern District of New
York, Daniel Patrick Moynihan United States Courthouse, 500 Pearl St., Courtroom 14D, New York, New
York 10007. The Court reserves the right to approve the Settlement, enter the Judgment, approve the Plan
of Allocation or grant Co-Lead Counsel’s request for attorneys’ fees and Litigation Expenses at or after
the Final Approval Hearing without further notice to Class Members.
               Any Class Member who does not timely and properly request exclusion from the Class in
accordance with ¶¶ 51–42 above may object to the proposed Settlement, Judgment, Plan of Allocation, or
Co-Lead Counsel’s application for an award of attorneys’ fees and Litigation Expenses. Objections must
be in writing. You must file any written objection with the Clerk’s Office at the United States District
Court for the Southern District of New York at the address set forth below. You must also serve the written
objection on Co-Lead Counsel and Defendants’ Counsel at the addresses set forth below. You must serve
the written objection so that the Court and all counsel receive the objections on or before [__________],
2021.
 Clerk’s Office:                                     U.S. District Court for the Southern District
                                                     of New York
                                                     500 Pearl Street
                                                     New York, NY 10007

 Co-Lead Counsel for the Class:                      Cohen Milstein Sellers & Toll PLLC
                                                     1100 New York Avenue N.W., Suite 500
                                                     Washington, D.C. 20005
                                                     Attn: Steven J. Toll
                                                     stoll@cohenmilstein.com

                                                     Scott + Scott Attorneys at Law LLP
                                                     230 Park Avenue, 17th Floor
                                                     New York, NY 10169
                                                     Attn: Max R. Schwartz
                                                     mschwartz@scott-scott.com




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 Counsel to the GreenSky Defendants:                Cravath, Swaine & Moore LLP
                                                    825 Eighth Avenue
                                                    New York, NY 10019
                                                    Attn: Karin A. DeMasi
                                                    kdemasi@cravath.com

 Counsel for Robert Sheft, Joel Babbit, Gregg       Cravath, Swaine & Moore LLP
 Freishtat, John Flynn or Nigel Morris:             825 Eighth Avenue
                                                    New York, NY 10019
                                                    Attn: Karin A. DeMasi
                                                    kdemasi@cravath.com

                                                    Susman Godfrey LLP
                                                    1301 Avenue of the Americas, 32nd Floor
                                                    New York, NY 10019
                                                    Attn: Shawn Rabin
                                                    srabin@susmangodfrey.com

 Underwriter Defendants’ Counsel:                   Willkie Farr & Gallagher LLP
                                                    787 Seventh Avenue
                                                    New York, NY 10019
                                                    Attn: Todd G. Cosenza
                                                    tcosenza@willkie.com

                Unless the Court orders otherwise, your written objection will be considered only if it in-
cludes all of the following information: (a) your full name, address, and phone number; (b) a list and
documentation of all of your transactions in GreenSky common stock, such as brokerage confirmation
receipts or other competent documentary evidence of such transactions, including the amount and date of
each purchase or sale and the price paid and/or received (including all income received thereon); (c) a
written statement of all grounds for the objection accompanied by any legal support for the objection; (d)
copies of any papers, briefs or other documents upon which the objection is based; and (e) your signature,
even if you are represented by counsel.
                You may not object to the Settlement, or any aspect of it, if you are not a member of the
Class or if you excluded yourself from the Class.
                 If you wish to be heard orally at the Final Approval Hearing in opposition to the proposed
Settlement, Judgment, Plan of Allocation, or Co-Lead Counsel’s application for an award of attorneys’
fees and Litigation Expenses, you must also include in your written objection (that must be filed and
served in the manner and time period set forth above in ¶¶ 51-52) the following information: (a) a state-
ment of your intention to appear at the Final Approval Hearing; (b) a list of all persons, if any, who will
be called to testify in support of the objection and the subject of their expected testimony and the basis
therefor; and (c) if you intend to appear at the Final Approval Hearing through counsel, a statement iden-
tifying all attorneys who will appear on your behalf.
             You may file a written objection without having to appear at the Final Approval Hearing.
You may not appear at the Final Approval Hearing to present your objection, however, unless you first



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filed and served a written objection in accordance with the procedures described above, unless the Court
orders otherwise.
                You are not required to hire an attorney to represent you in making written objections or in
appearing at the Final Approval Hearing. If you decide to hire an attorney at your own expense, he or she
must file a notice of appearance with the Court and serve it on Co-Lead Counsel at the addresses set forth
above in ¶ 55 so that the notice is received on or before [________], 2021.
                If you object to the proposed Settlement, Judgment, Plan of Allocation, or Co-Lead Coun-
sel’s application for an award of attorneys’ fees and Litigation Expenses, or otherwise request to be heard
at the Final Approval Hearing in the manner stated above, you are submitting to the jurisdiction of the
Court with respect to the subject matter of the Settlement, including, but not limited to, the release of the
Released Claims as against the Released Defendants contained in the Judgment. If the Court overrules
your objection and approves the Settlement or the part of the Settlement to which you have objected, you
only will potentially share in the Net Settlement Fund if you have timely and properly filed a Proof of
Claim Form in the manner stated in ¶¶ 47-50 above and the Claims Administrator approves your claim.
               The Final Approval Hearing may be adjourned by the Court without further written notice
to the Class. Any new date for the Final Approval Hearing will be posted on the settlement website at
www.GreenSkySecuritiesLitigation.com. If you intend to attend the Final Approval Hearing, you should
confirm the date and time with Co-Lead Counsel.
                Unless the Court orders otherwise, any Class Member who does not object in the manner
described above will be deemed to have waived any objection and will be forever foreclosed from making
any objection to the proposed Settlement, Judgment, Plan of Allocation or Co-Lead Counsel’s request for
attorneys’ fees and Litigation Expenses. Class Members do not need to appear at the hearing or take any
other action to indicate their approval.

             WHAT IF I BOUGHT SHARES ON SOMEONE ELSE’S BEHALF?

                If you purchased GreenSky common stock for the beneficial interest of a person or organ-
ization other than yourself, you must either (i) within fourteen (14) days after you receive this Notice,
request from the Claims Administrator sufficient copies of the Notice and Proof of Claim Form to forward
to all such beneficial owners, and within fourteen (14) days of receipt of the copies of the Notice and Proof
of Claim Form forward them to all such beneficial owners; or (ii) within fourteen (14) days after you
receive this Notice, provide a list of the names and addresses of all such beneficial owners (preferably in
electronic format (e.g., Excel, .csv)) to In re GreenSky Securities Litigation, P.O. Box 3560, Portland, OR
97208-3560 or by email to info@GreenSkySecuritiesLitigation.com. If you choose the second option, the
Claims Administrator will send a copy of the Notice and Proof of Claim Form to each beneficial owner
whose name and address you provide. Upon full compliance with these directions, nominees may seek
reimbursement of their reasonable expenses actually incurred by providing the Claims Administrator with
proper documentation supporting the expenses for which reimbursement is sought. Copies of this Notice
and Proof of Claim Form may also be obtained by calling the Claims Administrator at (855) 917-3539.
Copies of this Notice and Proof of Claim Form may be downloaded from the settlement website,
www.GreenSkySecuritiesLitigation.com, or from Co-Lead Counsel’s website, www.cohenmilstein.com.

                    WHO SHOULD I CONTACT IF I HAVE QUESTIONS?



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               This Notice contains only a summary of the terms of the proposed Settlement. More de-
tailed information about the matters involved in the Action is available at www.GreenSkySecuritiesLiti-
gation.com, including, among other documents, copies of the Settlement and the Complaint. All inquiries
concerning this Notice should be directed to:

       In re GreenSky Securities Litigation
       P.O. Box 3560
       Portland, OR 97208-3560
       www.GreenSkySecuritiesLitigation.com
       Tel: 1-855-917-3539 (Toll-Free)
       E-mail: info@GreenSkySecuritiesLitigation.com

                                                    OR

       Cohen Milstein Sellers & Toll PLLC                Scott + Scott Attorneys at Law LLP
       1100 New York Avenue N.W., Suite 500              230 Park Avenue, 17th Floor
       Washington, D.C. 20005                            New York, NY 10169
       Attn: Steven J. Toll                              Attn: Max R. Schwartz
       stoll@cohenmilstein.com                           mschwartz@scott-scott.com


                                             Co-Lead Counsel

DO NOT CALL OR WRITE THE COURT OR THE OFFICE OF THE CLERK OF COURT RE-
GARDING THIS NOTICE.

Dated: ______________ __, 2021              ________________________________
                                            By Order of the Court
                                            United States District Court
                                            for the Southern District of New York




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                                             EXHIBIT A-2
                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK

 IN RE GREENSKY SECURITIES LITIGATION Case No. 18-cv-11071 (AKH)




                    SUMMARY NOTICE OF PROPOSED SETTLEMENT
TO:    ALL PERSONS AND ENTITIES WHO PURCHASED CLASS A COMMON
       STOCK OF GREENSKY, INC. PURSUANT AND/OR TRACEABLE TO THE
       REGISTRATION STATEMENT AND PROSPECTUS ISSUED IN CONNECTION
       WITH GREENSKY’S MAY 25, 2018 INITIAL PUBLIC OFFERING
              YOU ARE HEREBY NOTIFIED that a proposed Settlement has been reached in this
Action. A hearing will be held with respect to the Settlement on [__________], 2021 at [__:__ _.m.],
before the Honorable Alvin K. Hellerstein, in the United States District Court for the Southern District of
New York, Daniel Patrick Moynihan United States Courthouse, 500 Pearl St., Courtroom 14D, New York,
New York 10007. 1
                The purpose of the hearing is to determine whether the proposed Settlement of the
securities class action claims asserted in this Action, pursuant to which GreenSky will cause to be
deposited into a Settlement Fund the sum of twenty-seven million, five hundred thousand U.S. dollars
($27,500,000.00) in exchange for the dismissal of the Action with prejudice and a release of claims against
the Defendants and Released Defendants, should be approved by the Court as fair, reasonable and adequate
and in the best interests of the Class. If you purchased GreenSky Class A common stock pursuant and/or
traceable to the Offering Documents, you may be entitled to share in the distribution of the Settlement
Fund if you submit a Proof of Claim Form no later than [__________], 2021, and if the information and
documentation you provide in that Proof of Claim Form establishes that you are entitled to a recovery.
                This Summary Notice provides only a summary of matters regarding the Action and the
Settlement. A detailed notice (the “Notice”) describing the Action, the proposed Settlement, and the rights
of Class Members to appear in Court at the Final Approval Hearing, to request to be excluded from the
Class, and/or to object to the Settlement, the Plan of Allocation and/or the request by Lead Counsel for an
award of attorneys’ fees and reimbursement of Litigation Expenses, has been mailed to persons or entities
known to be potential Class Members. You may obtain a copy of that Notice, a Proof of Claim Form, the
Stipulation and other information at www.GreenSkySecuritiesLitigation.com, or by writing to the
following address or calling the following telephone number.



       1
         This Summary Notice incorporates by reference the definitions in the Stipulation and Agreement
of Settlement dated May 24, 2021 (“Stipulation”), and all capitalized terms used, but not defined herein,
shall have the same meanings as in the Stipulation. A copy of the Stipulation can be obtained at
http://www.GreenSkySecuritiesLitigation.com.

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               In re GreenSky Securities Litigation
               P.O. Box 3560
               Portland, OR 97208-3560
               www.GreenSkySecuritiesLitigation.com
               Tel: 1-855-917-3539 (Toll-Free)
               E-mail: info@GreenSkySecuritiesLitigation.com

               If you are a Class Member, you have the right to object to the Settlement, the Plan of
Allocation and/or the request by Co-Lead Counsel for an award of attorneys’ fees and Litigation Expenses,
or otherwise request to be heard, by submitting no later than [__________], 2021, a written objection in
accordance with the procedures described in the Notice. You also have the right to exclude yourself from
the Class by submitting no later than [__________], 2021, a written request for exclusion from the Class
in accordance with the procedures described in the Notice. If the Settlement is approved by the Court, you
will be bound by the Settlement and the Court’s Judgment, including the releases provided for in the
Settlement and Judgment, unless you submit a request to be excluded.
PLEASE DO NOT CONTACT THE COURT OR THE CLERK’S OFFICE REGARDING
THIS NOTICE.
              Inquiries, other than requests for the Notice, Proof of Claim Form and the Stipulation
referenced above, may be made to Co-Lead Counsel for Lead Plaintiffs:

               Cohen Milstein Sellers & Toll PLLC                 Scott + Scott Attorneys at Law LLP
               1100 New York Avenue N.W., Suite 500               230 Park Avenue, 17th Floor
               Washington, D.C. 20005                             New York, NY 10169
               Attn: Steven J. Toll                               Attn: Max R. Schwartz
               stoll@cohenmilstein.com                            mschwartz@scott-scott.com




Dated: ______________ __, 2021               ________________________________
                                             By Order of the Court
                                             United States District Court
                                             for the Southern District of New York




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 In re GreenSky Securities Litigation                                                   Objection/Exclusion Deadline: [_______], 2021
 P.O. Box 3560                                                                          Final Approval Hearing: [_______], 2021
 Portland, OR 97208-3560                                                                Deadline to File a Claim: [_______], 2021
 Toll-Free Number: (855) 917-3539
 Website: www.GreenSkySecuritiesLitigation.com                                          EXECUTION COPY




                                                      PROOF OF CLAIM

Before completing this form, please read the detailed instructions on pages 3-4. When filling out this form, type or print in the boxes below
in CAPITAL LETTERS; do not use red ink, pencils or staples.


PART I:              CLAIMANT INFORMATION
 Beneficial Owner’s First Name                                            Beneficial Owner’s Last Name


 Co-Beneficial Owner’s First Name                                         Co-Beneficial Owner’s Last Name


 Entity Name (if claimant is not an individual)


 Representative or Custodian Name (if different from Beneficial Owner(s) listed above)


 Account Number (if filing for multiple accounts, file a separate Proof of Claim Form for each account)


 Address 1 (street name and number)


 Address 2 (apartment, unit, or box number)


 City                                                                                                     State        Zip Code


 Foreign Country (only if not United States)


 Social Security Number                                     Taxpayer Identification Number
              -              -                       OR             -

 Telephone Number (Home)                                    Telephone Number (Work)
             -                    -                                     -                   -

 E-Mail Address


 Claimant Account Type (check appropriate):
 o      Individual (includes joint owner accounts)    o    Pension Plan                                                           o   Trust
 o      Corporation                                   o    Estate
 o      IRA/401(k)                                    o    Other:________________ (please specify)


                                                     (TURN TO NEXT PAGE)




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 In re GreenSky Securities Litigation                                         Objection/Exclusion Deadline: [_______], 2021
 P.O. Box 3560                                                                Final Approval Hearing: [_______], 2021
 Portland, OR 97208-3560                                                      Deadline to File a Claim: [_______], 2021
 Toll-Free Number: (855) 917-3539
 Website: www.GreenSkySecuritiesLitigation.com                                EXECUTION COPY


PART II:            SCHEDULE OF HOLDINGS AND TRANSACTIONS IN GREENSKY COMMON
                    STOCK

      Beginning Holdings. For shares held before the opening of trading on the first day of the Relevant Period (May 24,
      2018), please provide the quantity of shares held (if none, leave blank):
                   Quantity of Shares:                         .

      Incoming Shares. Purchases from the beginning of the Relevant Period (May 24, 2018) to August 5, 2019 (please note,
      shares purchased after the end of the Relevant Period do not contribute to your Recognized Loss, but are requested to
      properly balance and process your claim). Please provide all data, and list each trade separately:
   Trade Date (MMDDYYYY)                 Quantity of Shares Purchased           Purchase Price per Share
                                                               .         $                        .
                                                              .          $                        .
                                                              .          $                        .
                                                              .          $                        .
                                                              .          $                        .

      Outgoing Shares. Sales from the beginning of the Relevant Period through the end of trading on August 5. 2019. Please
      provide all data, and list each trade separately:
   Trade Date (MMDDYYYY)                   Quantity of Shares Sold                Sale Price per Share
                                                               .                                  .
                                                              .                                   .
                                                              .                                   .
                                                              .                                   .
                                                              .                                   .

      Unsold Shares. Shares held as of the end of trading on August 5, 2019. Please provide the quantity of shares held (if
      none, leave blank):
                   Quantity of Shares:                        .

PART III:           CERTIFICATION
Executed this ______ day of ________________________ in _______________________, __________
                    (Day)                    (Month/Year)                                (City)             (State/Country)
________________________________________
(Signature of Claimant)
________________________________________
(Print Name of Claimant)
________________________________________
(Signature of Joint Claimant, if any)
________________________________________
(Print Name of Joint Claimant, if any)




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 In re GreenSky Securities Litigation                              Objection/Exclusion Deadline: [_______], 2021
 P.O. Box 3560                                                     Final Approval Hearing: [_______], 2021
 Portland, OR 97208-3560                                           Deadline to File a Claim: [_______], 2021
 Toll-Free Number: (855) 917-3539
 Website: www.GreenSkySecuritiesLitigation.com                     EXECUTION COPY




                                   PROOF OF CLAIM INSTRUCTIONS

                To recover as a Class Member based on your claims in the action entitled In re GreenSky
Securities Litigation, Case No. 1:18-cv-11071-AKH (S.D.N.Y.) (the “Action”),1 you must complete and,
on page 2 hereof, sign this Proof of Claim Form. If you fail to timely and completely file a properly
addressed (as set forth in paragraph 3 below) Proof of Claim Form, your Claim may be rejected and you
may be precluded from any recovery from the Settlement Fund created in connection with the proposed
Settlement of the Action.
               Submission of this Proof of Claim Form, however, does not assure that you will share in
the proceeds of the Settlement of the Action, if it is approved by the Court. Your recovery, if any, will be
calculated as described in the Plan of Allocation in the Notice of Pendency of Class Action and Proposed
Settlement (“Notice”).
             You must mail your completed and signed Proof of Claim Form postmarked on or
before [___________], 2021, addressed as follows:
                 In re GreenSky Securities Litigation
                 P.O. Box 3560
                 Portland, OR 97208-3560
                 www.GreenSkySecuritiesLitigation.com
                 Tel: 1-855-917-3539 (Toll-Free)
                 E-mail: info@GreenSkySecuritiesLitigation.com

                 If you are NOT a Class Member (as defined in the Notice), DO NOT submit a Proof of
Claim Form.
               If you are a Class Member and you did not timely and validly request exclusion from the
proposed Class (pursuant to the procedures set forth in the Notice), you will still be bound by the terms of
the Settlement and proposed Judgment to be entered in the Action, including the releases provided therein,
whether or not you submit a Proof of Claim Form.
               This Proof of Claim Form must be submitted by the actual beneficial purchaser(s), or the
legal representative of such purchaser(s), of the GreenSky common stock upon which these claims are
based.
                 Use Part I of this form entitled “Claimant Identification” to identify each beneficial
purchaser.
              All joint purchasers must sign this Proof of Claim Form. Executors, administrators,
guardians, conservators, and trustees must complete and sign this Proof of Claim Form on behalf of

        1
         This Proof of Claim Form incorporates by reference the definitions in the Stipulation and
Agreement of Settlement dated May 24, 2021 (“Stipulation”), and all capitalized terms used, but not
defined herein, shall have the same meanings as in the Stipulation. A copy of the Stipulation can be
obtained at http://www.GreenSkySecuritiesLitigation.com.

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 In re GreenSky Securities Litigation                               Objection/Exclusion Deadline: [_______], 2021
 P.O. Box 3560                                                      Final Approval Hearing: [_______], 2021
 Portland, OR 97208-3560                                            Deadline to File a Claim: [_______], 2021
 Toll-Free Number: (855) 917-3539
 Website: www.GreenSkySecuritiesLitigation.com                      EXECUTION COPY

persons represented by them, and their authority must accompany this Claim and their titles or capacities
must be stated. The last four digits of the Social Security (or taxpayer identification) number and telephone
number of the beneficial owner(s) may be used in verifying the Claim. Failure to provide the foregoing
information could delay verification of your Claim or result in rejection of the Claim.
                Use Part II of this form entitled “Schedule of Holdings and Transactions in GreenSky
Common Stock” to supply all required details of your transaction(s) in GreenSky common stock. If you
need more space or additional schedules, attach separate sheets giving all of the required information in
substantially the same form. Sign and print or type your name on each additional sheet.
                On the schedules, provide all of the requested information with respect to all of your
purchases of GreenSky common stock which took place during the period between May 24, 2018 and
November 12, 2018, inclusive (the “Relevant Period”), whether such transactions resulted in a profit or a
loss. Failure to report all such transactions may result in the rejection of your Claim.
                List each transaction separately and in chronological order, by trade date, beginning with
the earliest. You must accurately provide the month, day, and year of each transaction you list.
               You should attach documentation verifying your transactions in GreenSky common stock,
such as copies of broker confirmations. Failure to provide this documentation could delay verification of
your Claim or result in rejection of your Claim.
Reminder Checklist:
  1. Sign the Certification section of the Proof of Claim Form on page 2.
  2. Remember to attach supporting documentation.
  3. Do not send original documents.
  4. Keep a copy of your Proof of Claim Form and all documents submitted for your records.
  5. If you desire an acknowledgment of receipt of your Proof of Claim Form, send your Proof of Claim
     Form by Certified Mail, Return Receipt Requested.
  6. If you move, please send the Claims Administrator your new address.

 Accurate claims processing can take a significant amount of time. Thank you for your patience.




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